      Case: 23-30445   Document:
Case 3:22-cv-01213-TAD-KDM       00516855495
                            Document  324 Filed Page: 1 Page
                                                08/11/23 Date Filed:
                                                              1 of 4 08/11/2023
                                                                     PageID #: 27652




                       United States Court of Appeals
                                      FIFTH CIRCUIT
                                   OFFICE OF THE CLERK
    ġ                    ġ                                   ġ
    LYLE W. CAYCE        ġ                                           TEL. 504-310-7700
    CLERK                ġ                                        600 S. MAESTRI PLACE,
                         ġ                                                Suite 115
                                                                 NEW ORLEANS, LA 70130

                                  August 11, 2023
   MEMORANDUM TO COUNSEL OR PARTIES LISTED BELOW:
          No. 23-30445       State of Missouri v. Biden
                             USDC No. 3:22-CV-1213

   Enclosed is an order entered in this case.


                                       Sincerely,
                                       LYLE W. CAYCE, Clerk


                                       By: _________________________
                                       Shea E. Pertuit, Deputy Clerk
                                       504-310-7666

   P.S. to Mr. Mills and Mr. Hamilton: The Clerk’s Office will
   file the corrected amicus brief on the docket as of today’s
   date.

   Mr. Travis Christopher Barham
   Mr. John B. Bellinger III
   Mr. Simon Christopher Brewer
   Mr. Brennan Tyler Brooks
   Mr. Jonathon Christian Burns
   Mr. Jay R. Carson
   Mr. David Anthony Dalia
   Mr. Joshua M. Divine
   Mr. Christopher A. Ferrara
   Mr. Jon Marshall Greenbaum
   Mr. David A. Greene
   Mr. Gene Patrick Hamilton
   Mr. R. Stanton Jones
   Mr. Glynn Shelly Maturin II
   Mr. Christopher Ernest Mills
   Mr. Tony R. Moore
   Ms. Elizabeth Baker Murrill
   Mr. William Jeffrey Olson
   Mr. Dean John Sauer
   Mr. Todd Scott
   Mr. Jay A. Sekulow
   Mr. Eric Arthur Sell
   Mr. Tracy Short
      Case: 23-30445   Document:
Case 3:22-cv-01213-TAD-KDM       00516855495
                            Document  324 Filed Page: 2 Page
                                                08/11/23 Date Filed:
                                                              2 of 4 08/11/2023
                                                                     PageID #: 27653



   Mr. Daniel Bentele Hahs Tenny
   Ms. Elisabeth S. Theodore
   Mr. Peter Martin Torstensen Jr.
   Mr. John Julian Vecchione
   Mr. Henry Charles Whitaker
   Mr. Daniel Winik
   Mr. Scott L. Winkelman
   Mr. Stephen K. Wirth
   Ms. Grace Zhou
      Case: 23-30445   Document:
Case 3:22-cv-01213-TAD-KDM       00516855496
                            Document  324 Filed Page: 1 Page
                                                08/11/23 Date Filed:
                                                              3 of 4 08/11/2023
                                                                     PageID #: 27654




                 United States Court of Appeals
                      for the Fifth Circuit
                                       ___________

                                        No. 23-30445
                                       ___________

         State of Missouri; State of Louisiana; Aaron Kheriaty;
         Martin Kulldorff; Jim Hoft; Jayanta Bhattacharya;
         Jill Hines,

                                                                 Plaintiffs—Appellees,

                                            versus

         Joseph R. Biden, Jr.; Vivek H. Murthy; Xavier Becerra;
         Department of Health & Human Services; Anthony
         Fauci; Et al.,

                                                Defendants—Appellants.
                        ______________________________

                        Appeal from the United States District Court
                           for the Western District of Louisiana
                                 USDC No. 3:22-CV-1213
                        ______________________________

         ORDER:
                IT IS ORDERED that the unopposed motion of Leland Stanford
         Junior University, Alex Stamos and Renee DiResta, to file an amicus brief, in
         support of the appellants, is GRANTED.
      Case: 23-30445   Document:
Case 3:22-cv-01213-TAD-KDM       00516855496
                            Document  324 Filed Page: 2 Page
                                                08/11/23 Date Filed:
                                                              4 of 4 08/11/2023
                                                                     PageID #: 27655
                                     No. 23-30445




                                  LYLE W. CAYCE, CLERK
                                  United States Court of Appeals
                                       for the Fifth Circuit
                                       /s/ Lyle W. Cayce

                     ENTERED AT THE DIRECTION OF THE COURT




                                          2
